         Case 8:21-bk-11710-SC Doc 240 Filed 09/25/22 Entered 09/25/22 21:14:50                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 21-11710-SC
Jamie Lynn Gallian                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 23, 2022                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 25, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Sep 24 2022 00:01:00      Jamie Lynn Gallian, 16222 Monterey Ln Unit 376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 25, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 23, 2022 at the address(es) listed
below:
Name                               Email Address
Aaron E DE Leest
                                   on behalf of Trustee Jeffrey I Golden (TR) adeleest@DanningGill.com danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Brandon J Iskander
                                   on behalf of Plaintiff The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

Brandon J Iskander
                                   on behalf of Creditor The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

D Edward Hays
                                   on behalf of Interested Party Courtesy NEF ehays@marshackhays.com
                                   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com
         Case 8:21-bk-11710-SC Doc 240 Filed 09/25/22 Entered 09/25/22 21:14:50                                                       Desc
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0973-8                                         User: admin                                                            Page 2 of 2
Date Rcvd: Sep 23, 2022                                      Form ID: pdf042                                                       Total Noticed: 1
D Edward Hays
                             on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Eric P Israel
                             on behalf of Trustee Jeffrey I Golden (TR) eisrael@DanningGill.com danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Jeffrey I Golden (TR)
                             lwerner@go2.law jig@trustesolutions.net;kadele@go2.law

Laila Masud
                             on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Interested Party Courtesy NEF lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor
                             on behalf of Interested Party Courtesy NEF mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Mark A Mellor
                             on behalf of Defendant Randall L Nickel mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Robert P Goe
                             on behalf of Plaintiff The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe
                             on behalf of Creditor The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Valerie Smith
                             on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 17
Case 8:21-bk-11710-SC Doc 240 Filed 09/25/22 Entered 09/25/22 21:14:50                                      Desc
                    Imaged Certificate of Notice Page 3 of 4


  1 ERIC P. ISRAEL (State Bar No. 132426)
    eisrael@DanningGill.com
  2 AARON E. DE LEEST (State Bar No. 216832)
    adeleest@DanningGill.com                                            FILED & ENTERED
  3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
    1901 Avenue of the Stars, Suite 450
  4 Los Angeles, California 90067-6006                                         SEP 23 2022
    Telephone: (310) 277-0077
  5 Facsimile: (310) 277-5735                                             CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
                                                                          BY mccall DEPUTY CLERK
  6 Attorneys for Jeffrey I. Golden,
    Chapter 7 Trustee
  7
  8                               UNITED STATES BANKRUPTCY COURT

  9                               CENTRAL DISTRICT OF CALIFORNIA
 10                                        SANTA ANA DIVISION
 11
 12 In re                                                   Case No. 8:21-bk-11710-SC
 13 JAMIE LYNN GALLIAN,                                     Chapter 7
 14                                                         ORDER AUT+25,=,1*75867((¶6
                                                            ABANDONMENT OF (67$7(¶6
 15                     Debtor.                             INTEREST IN CLAIMS AGAINST
                                                            RANDALL L. NICKEL RELATING TO
 16                                                         THE OCTOBER 2018 TRANSFER OF
                                                            THE PROPERTY COMMONLY KNOWN
 17                                                         AS 4476 ALDERPORT DR. #53,
                                                            HUNTINGTON BEACH, CALIFORNIA
 18                                                         92649
 19                                                         [No Hearing Required]
 20            The Court having reviewed the Trustee¶s Notice of Intent to Abandon (VWDWH¶V,QWHUHVW
 21 in Claims against Randall L. Nickel relating to the October 2018 Transfer of the Property
 22 commonly known as 4476 Alderport Dr. #53, Huntington Beach, California 92649 (tKH³1RWLFHRI
 23 ,QWHQW´  docket no. 201), filed by Jeffrey I. Golden, as Chapter 7 Trustee for the bankruptcy estate

 24    WKH³(VWDWH´ RI-DPLH/\QQ*DOOLDQ WKH³'HEWRU and no objections or opposition having been
 25 filed to the Notice of Intent, the Court hereby

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      1693356.1 27064                                   1
Case 8:21-bk-11710-SC Doc 240 Filed 09/25/22 Entered 09/25/22 21:14:50                                         Desc
                    Imaged Certificate of Notice Page 4 of 4


  1            ORDERS THAT:

  2            1.       The (VWDWH¶Vinterest in FODLPVDJDLQVW5DQGDOO/1LFNHO ³1LFNHO´ DULVLQJVROHO\
  3 RXWRIWKH2FWREHUWUDQVIHURIWKH'HEWRU¶VLQWHUHVWLQWKHSURSHUW\FRPPRQO\NQRZQDV
  4 4476 Alderport Dr. #53, Huntington Beach, California 92649, to Nickel, including any claims
  5 under the Uniform Voidable Transactions Act (California Civil Code §§ 3439 et seq.) and
  6 11 U.S.C. § 544, is abandoned.
  7                                                      ###
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       Date: September 23, 2022
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      1693356.1 27064                                      2
